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To Whom it may Concern:

          My name is Ella Cox and l am writing to offer a character reference for Mark Holdren, who is my nephew.
Having been raised next door, Mark and I grew very close as he refers to me as “Sis.” Our relationship was very
solid, even after I moved out of my parents home and got married. Mark would come stay with my husband and I
often and we would take him on our vacation trips and continue to spend a lot of time with one another. The
charges that Mark is facing are definitely out of character for him. Mark is a very caring person. He has expressed to
me many times that he wishes he could do things differently. It has been absolutely heartbreaking to sit back and
watch this happen to a person that you love so much and know that what his role was in this case goes against his
morals.
          Mark alone has many means of kindness for people. He has always been willing to help anyone do
anything. When my parents were still alive, Mark would help watch my dad, who was Mark’s grandpa that has
Alzheimer’s Disease, which would relieve my mother to go out and run the errands she needed to take care of. Mark
has helped my husband on many occasions around our house do electrical work and other odd jobs that needed to
be finished. Mark has a heart of gold and knows that he made very bad decisions in this situation. Mark was raised
knowing God is in control of all situations. Since Mark’s arrest, he has read the Bible completely through which my
husband and I both encouraged him to do. This has helped Mark realize just how far he steered away from God’s
path, but he is praying for God to lead his way.
          Mark has taught his kids to always have a heart of gold. He is a very loving dad and has done a great job
raising his kids. He has raised Haley and Konnor to be kind and to always have the willingness to help others. Mark
demonstrates numerous qualities as a valuable person in our society. In addition to this, I have observed him being
polite, a hard-worker, very caring, have a great personality, a loving dad, nephew, and son. Mark has always been
willing to help anyone do anything if they needed it.
          Under this pretest, I strongly recommend Mark Holdren as a more than suitable person. I think this is a solid
testimony of how Mark is and his mental and moral qualities and I hope you consider this reference letter when
determining the outcome of this case.
          In case you need any further information please do not hesitate to contact me. Thank you for your time and
consideration on this matter.

         Best regards,
         Ella Cox
         119 Crown St.
         Beckley, WV 25801
         304-573-8678
